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                    UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF NEW YORK
__________________________________________
COLLIN TRELLY,
                                          Plaintiff,
                                                               DECISION AND ORDER
-vs-
                                                               13-CV-6248 CJS
COUNTY OF MONROE, THE SHERIFF OF THE
COUNTY OF MONROE, AND MONROE COUNTY
DEPUTY SHERIFF GEIGER,
                              Defendants.
__________________________________________

                                    INTRODUCTION

       Plaintiff, who was formerly incarcerated in the Monroe County Jail, alleges that

Defendants committed various intentional New York state-law torts against him, and also

violated his federal constitutional rights. Now before the Court is Defendants’ motion

(Docket No. [#11]) for judgment on the pleadings. The application is granted in part and

denied in part.

                                     BACKGROUND

       Defendant has moved for judgment on the pleadings pursuant to Fed.R.Civ. P.

12(c). In deciding such a motion, the Court is limited as to what it can consider:

       In ruling on a 12(b)(6) motion, and thus on a 12(c) motion, a court may
       consider the complaint as well as “any written instrument attached to [the
       complaint] as an exhibit or any statements or documents incorporated in it
       by reference.” Yak v. Bank Brussels Lambert, 252 F.3d 127, 130 (2d
       Cir.2001) (internal quotation marks omitted). Moreover, “on a motion to
       dismiss, a court may consider ... matters of which judicial notice may be
       taken, [and] documents either in plaintiffs' possession or of which plaintiffs
       had knowledge and relied on in bringing suit.” Chambers v. Time Warner,
       Inc., 282 F.3d 147, 153 (2d Cir.2002) (internal quotation marks omitted).



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Kalyanaram v. American Ass'n of University Professors at New York Institute of

Technology, Inc., 742 F.3d 42, 44 (2d Cir. 2014).

       In the instant case, the Court’s review is limited to the Complaint1 that Plaintiff filed

in New York State Supreme Court, Monroe County, which was later removed to this Court.

The Complaint purports to assert five separate causes of action, as follows: 1) a state-law

tort claim for assault against Deputy Geiger; 2) a state-law tort claim for battery against

Deputy Geiger; 3) a state-law tort claim for intentional infliction of emotional distress

against Deputy Geiger; 4) a state-law negligence claim against Monroe County and the

Monroe County Sheriff, based upon negligent hiring, supervision and training; and 5) a

federal claim, pursuant to 42 U.S.C. § 1983, against Geiger, Monroe County, and the

Monroe County Sheriff, for violation of Plaintiff’s Eighth Amendment right to be free from

cruel and unusual punishment.

       The only true factual assertions in the Complaint underlying these causes of action

are the following statements:

       That on or about the 20th day of September, 2011, in the County of Monroe
       . . . Plaintiff was an inmate at the Monroe County Jail and Defendant, Deputy
       Geiger[,] was employed as a guard at the Monroe County Jail.
                                               ***
       That on or about September 20, 2011, the Defendant Geiger intentionally
       and wrongfully held Claimant down on his bed; placed his hand around
       Plaintiff’s neck choking the Plaintiff and cutting off his air supply all without
       the Plaintiff’s consent.

Complaint ¶ ¶ 7, 8, 13. Otherwise, the Complaint’s allegations concerning the particular

causes of action consist of conclusory statements that merely mirror the elements of the


      1
       Docket No. [#1] at pp. 8-13.

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various causes of action. See, e.g., Complaint ¶ 7 (“That on or about the 20th day of

September, 2011, in the County of Monroe, Defendant Deputy Geiger intentionally placed

the Plaintiff in imminent fear of harmful and offensive contact.”).

       Additionally, the Complaint indicates that Plaintiff “duly filed and served a Notice of

Claim upon [the] Defendants on the 2nd day of December, 2011 as required by § 50-e of

the General Municipal Law.” Complaint ¶ 5.

       On or about May 8, 2013, Defendants filed an Answer to the Complaint. On May

15, 2013, Defendants removed the action to this Court. On November 26, 2013, the

Honorable Jonathan W. Feldman, United States Magistrate Judge, issued a Scheduling

Order [#8], directing, inter alia, that all motions to amend pleadings be filed and served by

April 14, 2014.

       On July 24, 2014, Defendants filed the subject motion for judgment on the

pleadings, making the following arguments: 1) all state tort claims against Deputy Geiger

and the Monroe County Sheriff are time-barred under New York’s applicable one-year

statute of limitations; 2) the Complaint fails to state any other claim against Monroe County

or the Monroe County Sheriff; and 3) Deputy Geiger is entitled to qualified immunity.

                                       DISCUSSION

       Motion for Judgment on the Pleadings

       Defendants have moved for judgment on the pleadings, and “[t]he same standard

applicable to Fed.R.Civ.P. 12(b)(6) motions to dismiss applies to Fed.R.Civ.P. 12(c)

motions for judgment on the pleadings.” Bank of New York v. First Millennium, Inc., 607

F.3d 905, 922 (2d Cir.2010) (citation omitted). Such standard is clear:



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       Federal Rule of Civil Procedure 8(a)(2) requires only a short and plain
       statement of the claim showing that the pleader is entitled to relief, in order
       to give the defendant fair notice of what the claim is and the grounds upon
       which it rests. While a complaint attacked by a Rule 12(b)(6) motion to
       dismiss does not need detailed factual allegations, a plaintiff's obligation to
       provide the grounds of his entitlement to relief requires more than labels and
       conclusions, and a formulaic recitation of the elements of a cause of action
       will not do. Factual allegations must be enough to raise a right to relief above
       the speculative level, on the assumption that all the allegations in the
       complaint are true (even if doubtful in fact).

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 1964–65, 167 L.Ed.2d 929

(2007); see also, ATSI Communications, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 98 (2d

Cir.2007 ) (“To survive dismissal, the plaintiff must provide the grounds upon which his

claim rests through factual allegations sufficient ‘to raise a right to relief above the

speculative level.’ ”) (quoting Bell Atl. Corp. v. Twombly ) (footnote omitted). When

applying this standard, a district court must accept the allegations contained in the

complaint as true and draw all reasonable inferences in favor of the nonmoving party.

Burnette v. Carothers, 192 F.3d 52, 56 (2d Cir.1999), cert. denied, 531 U.S. 1052, 121

S.Ct. 657 (2000).

       Statute of Limitations

       Defendants maintain that all of the state tort claims against Deputy Geiger and the

Sheriff are time-barred, because they were filed beyond the one-year statute of limitations

set forth in New York Civil Practice Law and Rules (“CPLR”) § 215. That section of law

provides that “an action against a sheriff” “shall be commenced within one year,” CPLR §

215(1), and also applies to deputy sheriffs. See, Taylor v. Mayone, 626 F.2d 247, 251, n.

5 (2d Cir. 1980) (“This provision applies to deputy sheriffs as well as sheriffs.”). CPLR §


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215(1) does not apply to actions under 42 U.S.C. § 1983, however, and such actions are

governed by a three-year statute of limitations. Taylor v. Mayone, 626 F.2d at 253 (“[T]he

appropriate statute of limitations for s 1983 actions against sheriffs and their deputies is

the three-year provision of CPLR s 214(2) rather than the one-year provision of s 215(1).”).

Even assuming that the Deputy Geiger’s allegedly-intentional tortious conduct towards

Plaintiff was not covered by CPLR § 215(1), it would nevertheless be covered by the

general statute of limitations for assault, battery and intentional infliction of emotional

distress, which is also one year. See, CPLR § 215(3).

       Defendants contend that the claims against the Sheriff and Deputy Geiger are

untimely because the alleged assault by Geiger occurred on September 20, 2011, and

Plaintiff did not commence this action until more than a year later, on December 19, 2012.

       Plaintiff responds that the aforementioned claims are timely, because he filed a

notice of claim pursuant to New York General Municipal Law § 50-e, which results in a

limitations period of one year and ninety days. See, Bisson v. Martin Luther King Jr. Health

Clinic, 399 Fed.Appx. 655, 657 (2d Cir. Nov. 3, 2010) (“New York law provides that in order

to bring a tort suit against a county, a notice of claim must be filed “within ninety days after

the claim arises,” N.Y. Gen. Mun. L. § 50–e(1)(a), and the suit itself must be brought within

one year and ninety days of the claim arising, id. § 50–i(1).”).

       However, under the facts as alleged by Plaintiff in the Complaint, which involve

intentional tortious conduct by Geiger, it was not a condition precedent for him to file a

notice of claim against Geiger, and consequently, his state-law claims against Geiger are

subject to the usual one-year limitations period. See, Rew v. County of Niagara, 73 A.D.3d

1463, 1464, 901 N.Y.S.2d 442, 443 (4th Dept. 2010) (Holding that the filing of a notice of

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claim against an individual is not a condition precedent to suit unless the county is required

to indemnify such person, and that a county is not required to indemnify persons for

intentional torts). The state law claims against Geiger are therefore dismissed as untimely.

       It is unclear whether the same analysis would apply to the Monroe County Sheriff,

since the state law claim against him is based upon negligence, and the County of Monroe

indemnifies the Sheriff. See, Nowlin v. Lusk, No. 11CV712S, 2014 WL 298155 at *7

(W.D.N.Y. Jan. 28, 2014) (“Under the current version of Monroe County Local Law, Monroe

County, N.Y., Charter, Admin. Code § 39–4, the County indemnifies the Sheriff[.]”).

However, the Court need not resolve that question since, as discussed further below, it is

clear that the Complaint fails to plead any plausible claim against the Sheriff.

       The Complaint Fails to Plead Any Plausible Claim Against Monroe County
       or the Monroe County Sheriff

       As discussed above, the only true factual allegations set forth in the Complaint are

that Geiger attacked Plaintiff at the Monroe County Jail. There are no factual allegations

to plausibly suggest that Monroe County or the Sheriff were negligent in hiring or

supervising Geiger, or that they had a policy or practice that led to Geiger attacking

Plaintiff. Instead, the allegations upon which Plaintiff relies to impose liability against the

County and the Sheriff consist only of conclusory, formulaic recitations of the elements of

causes of action, which are insufficient to state a plausible claim. See, e.g., Complaint ¶

22 (“That Defendants, the County of Monroe and the Sheriff of the County of Monroe, were

negligent in failing to properly train and supervise Defendant, Deputy Sheriff Geiger, in the

performance of his duties with regard to standards and requirements for the treatment of

inmates at the Monroe County Jail.”). Consequently, the claims against Monroe County

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and the Monroe County Sheriff are dismissed.

       Qualified Immunity

       Deputy Geiger maintains that the claims against him should be denied based upon

qualified immunity. Geiger contends, for example, that the Complaint fails to plausibly

allege that a reasonable corrections officer would have believed that his alleged conduct

was unconstitutional. However, qualified immunity is an affirmative defense which must

be proven by the defendant. Moreover, dismissal on the grounds of qualified immunity is

rarely appropriate at the pleading stage, unless the facts supporting the defense appear

on the face of the complaint, which is not the case here. See, McKenna v. Wright, 386 F.3d

432, 436 (2d Cir. 2004) (“[W]e see no reason why even a traditional qualified immunity

defense may not be asserted on a Rule 12(b)(6) motion as long as the defense is based

on facts appearing on the face of the complaint.”). Accordingly, Geiger’s motion is denied

insofar as it is based on qualified immunity.

       Plaintiff’s Motion for Leave to Amend is Denied

       Plaintiff’s response to Defendants’ motion includes a one-sentence request for leave

to file an amended complaint. See, Docket No. [#16] at ¶ 8. However, Plaintiff has not

submitted a proposed amended pleading, as required by Local Rule of Civil Procedure

15(a) & (b). Nor, in light of Judge Feldman’s Scheduling Order [#8], has Plaintiff attempted

to show “ good cause” for the late application to amend. See, e.g., Chart v. Town of Parma,

No. 10-CV-6179P, 2012 WL 3839241 at *2-3 (W.D.N.Y. Aug. 28, 2012) (denying a cross-

motion to amend, made in response to a motion to dismiss, and made after the court-

ordered deadline for amending pleadings, where the movant-plaintiff failed to show good

cause as required under Rule 16). Accordingly, Plaintiff’s request to amend is denied.

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Even assuming that the motion had been properly supported, it would likely have been

denied on the merits as futile, in any event, since the dismissed state tort claims against

Geiger are time-barred, and since the record gives no indication that Plaintiff has any real

factual basis to assert negligence or Monell claims against the County or the Sheriff, even

after having had eight months in which to conduct discovery before the motion to dismiss

was filed.2

                                                CONCLUSION

        Defendant’s motion for judgment on the pleadings [#11] is denied as to the § 1983

claim against Deputy Geiger, but is otherwise granted. The § 1983 claim against Deputy

Geiger is now the sole remaining claim in this action. The Clerk of the Court is directed to

terminate Monroe County and the Monroe County Sheriff as parties to this action.

        SO ORDERED.

Dated: Rochester, New York
       February 4, 2015
                                                     ENTER:



                                                     /s/ Charles J. Siragusa
                                                     CHARLES J. SIRAGUSA
                                                     United States District Judge




        2
          The Court later stayed discovery pending the resolution of the subject motion for judgment on the
pleadings.

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